Case 8:10-cr-00327-JSM-AAS Document 324 Filed 08/30/11 Page 1 of 2 PageID 665




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                                     Case No. 8:10-cr-327-T-30EAJ

   ELEAZAR SOTO


                          FINAL JUDGMENT OF FORFEITURE

          THIS CAUSE comes before the Court upon the filing of the Motion by the

   United States for a Final Judgment of Forfeiture (Doc. 323), pursuant to 21 U.S.C.

   § 853(n)(7) and Fed. R. Crim. P. 32.2(c)(2) for one 1972 Chevrolet 2-door

   convertible, Vehicle Identification Number 1M67H2S125926 ("Chevrolet").

          The Court, being fully advised in the premises, hereby finds as follows:

          1.      On March 10, 2011, the Court granted the United States’ motion and

   entered the Preliminary Order of Forfeiture, forfeiting to the United States of

   America, all right, title, and interest in the Chevrolet. (Doc. 216).

          2.      On August 4, 2011, the defendant was sentenced, and the Chevrolet

   was found subject to forfeiture and included in the Judgment. (Docs. 317, 321).

          3.      In accordance with 21 U.S.C. § 853(n) and Rule 32.2(b)(6)(C), the

   United States published notice of the forfeiture, and of its intent to dispose of the

   Chevrolet, on the official government website, www.forfeiture.gov, from March 11,

   2011 through April 10, 2011. (Doc. 223). The publication gave notice to all third

   parties with a legal interest in the Chevrolet to file with the Office of the Clerk, United
Case 8:10-cr-00327-JSM-AAS Document 324 Filed 08/30/11 Page 2 of 2 PageID 666




   States District Court, Middle District of Florida, Sam Gibbons Federal Courthouse,

   2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602, a petition to adjudicate

   their interest within sixty (60) days of the first date of publication.

            4.        No person or entity, other than the defendant, whose interest was

   forfeited to the United States in the Preliminary Order of Forfeiture, is known to have

   an interest in the Chevrolet. No third party has filed a petition or claimed an interest

   in the Chevrolet, and the time for filing a petition has expired. Thus, any third-party

   interest in the Chevrolet is now barred.

            5.        The Court finds that the Chevrolet is the property of defendant Eleazar

   Soto.

            Accordingly, it is hereby

            ORDERED, ADJUDGED and DECREED that the United States’ motion (Doc.

   323) is GRANTED. It is FURTHER ORDERED that all right, title and interest in the

   Chevrolet is CONDEMNED and FORFEITED to the United States of America,

   pursuant to the provisions of 21 U.S.C. § 853(n)(7) and Fed. R. Crim. P. 32.2(c)(2)

   for disposition according to law.

            Clear title to the Chevrolet is now vested in the United States of America.

            DONE and ORDERED in Tampa, Florida on August 30, 2011.




   Copies to:
   Counsel/Parties of Record
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